
I concur with the majority's holding in this case.
I feel a responsibility to respond to the renewed attack on the majority holding of In re Z.Z., 494 N.W.2d 608 (S.D. 1992), in the other special writing filed in this case.
The main issue in Z.Z. was whether or not the rights of the natural parent should be terminated by the trial court. The majority of this court found the trial court did not err on that issue.
The second issue in Z.Z. was whether or not the granting of a guardianship to a grandparent was the least restrictive alternative. This issue was moot, since the child was under the Executive Branch's jurisdiction; namely, the Department of Social Services, for placement in view of the termination of the mother's parental rights.
Since the Z.Z. decision was released, I have not had the opportunity to ferret out what transpired in the placement of the minor by DSS. Therefore, I have no reason to disagree with the narrative of what transpired in the placement of the minor after our holding. From the narration, it is obvious that DSS has placed the minor, is monitoring the placement, and has not reinstated the parental rights of the natural parent. Therefore, it is my conclusion that notwithstanding the placement with the grandparents, this court's decision in Z.Z. can appropriately be cited as authority in appellate decisions and certainly should not be characterized as having "sorely aggrieved the cause of justice."
Z.Z. certainly stands as precedent for courts to follow in determining that the best interests of a minor require consideration of whether a parent (not a grandparent) can provide, or will provide, a stable, healthy environment and relationship in the foreseeable future. If that is not the case, a minor does not have to languish in a dysfunctional environment waiting for a parent to acquire the necessary skills which may never be attained.